                   Case: 25-1579
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                                            APPEALS  1   Date
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                                                                      CIRCUIT

                                                 No. 25-1579

                         ATLAS DATA PRIVACY CORP., ET AL.   vs. MYHERITAGE LTD., ET AL.

                                             ENTRY OF APPEARANCE

 Please list the names of all parties represented, using additional sheet(s) if necessary:
 MyHeritage Ltd.
Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)              ✔ Appellant(s)
                                        ____                            ____ Intervenor(s)

         ____ Respondent(s)             ____ Appellee(s)                ____ Amicus Curiae

(Type or Print) Counsel’s Name Alan  Charles Raul
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                                    ✔ Mr.
                                  ____        ____ Ms.    ____ Mrs. ____ Miss ____ Mx.

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SIGNATURE OF COUNSEL: /s/ Alan C. Raul

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waived for Federal and Virgin Island government attorneys.

REV. 10/20/2020
